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                       United States Court of Appeals
                                        For the First Circuit
                            _____________________________________________

                                                   No. 22-1674

            JACK OWENS; JEFFREY DREES; KATELYN MURPHY; PATRICK MANOLIAN;

          SCOTT MANN; SEAN HUSSEY, on behalf of themselves and all others similarly situated,

                                               Plaintiffs - Appellees,

                                                         v.

                                               CITY OF MALDEN.

                                            Defendant - Appellant.

                            _____________________________________________

                      STATEMENT OF COUNSEL IN SUPPORT OF
          DEFENDANT-APPELLANT CITY OF MALDEN’S BILL OF COSTS ON APPEAL

                I, Timothy J. Buckley, one of the counsel for Defendant-Appellant City of Malden,

      hereby certify that the City of Malden incurred the following costs in the above-captioned

      appeal:

                Docket Fee Notice of Appeal:                             $505

                Opening Brief (vendor printing & binding):               $2,679

                Record Appendix (vendor printing & binding):             $5,461.50 ($3,077 + $2,384.50)

                Reply Brief (vendor printing & binding):                 $805

      The costs reflected in the accompanying Bill of Costs reflect these amounts reduced to the

      maximum rates allowed by the United States Court of Appeals for the First Circuit.1 Copies of



      1
        The City intends to file a Bill of Costs with the District Court, in which the City will seek
      additional costs, including those contemplated by Fed. Rule App. Proc. 39(e).


      305919878v.1
Case: 22-1674     Document: 00118073706           Page: 3       Date Filed: 11/13/2023       Entry ID: 6603482




      the invoices received from the printing vendor for the City’s opening brief and joint appendix,

      and the City’s reply brief, are attached as Exhibit A.2


      Dated: November 13, 2023                                     Respectfully submitted,

                                                                   DEFENDANT-APPELLANT
                                                                   CITY OF MALDEN

                                                                   By its attorneys:

                                                                   /s/ Timothy J. Buckley
                                                                   Barry J. Miller (BBO # 661596)
                                                                     bmiller@seyfarth.com
                                                                   Alison Silveira (BBO # 666814)
                                                                     asilveira@seyfarth.com
                                                                   Timothy Buckley (BBO # 691200)
                                                                     tbuckley@seyfarth.com
                                                                   Seyfarth Shaw LLP
                                                                   Seaport East
                                                                   Two Seaport Lane, Suite 300
                                                                   Boston, MA 02210-2028
                                                                   Telephone: (617) 946-4800
                                                                   Fax: (617) 946-4801



                                       CERTIFICATE OF SERVICE

              I hereby certify that on November 13, 2023, I caused this document to be filed
      electronically with the United States Court of Appeals for the First Circuit by using the CM/ECF
      system, which will cause an electronic copy to be sent to counsel of record for the Plaintiffs-
      Appellees.

                                                                   /s/ Timothy J. Buckley




      2
        The March 10, 2023 invoice included in Exhibit A includes a deduction $149.50, but it is
      unclear to what item (or items) that deduction refers. Nonetheless, it is immaterial for present
      purposes, given the amount that the actual costs exceed the maximum rates permitted by this
      Court.


      305919878v.1
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                            EXHIBIT A
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                                          BATEMAN & SLADE, INC.
                                            — The Brief People —
                                            263 MAIN STREET — SUITE 3
                                         STONEHAM, MASSACHUSETTS 02180
                                                      ____

            EMAIL:BATEMANSLADE@MSN.COM                                           (617) 423-5556




            Timothy Buckley, Esquire                 March 10, 2023
            Seyfarth Shaw LLP
            Two Seaport Lane, Suite 300
            Boston, Massachusetts 02210-2028
            (617) 946-4800                        Invoice No. 12644
            _______________________________________________________

            United States Court of Appeals
            for the First Circuit
            No. 22-1674


            JACK OWENS, ET AL.                      Print & File:
                                                    Brief                     $2,679.00
            v.                                      Appellants’ App.           3,077.00
                                                    Appellees’ App.            2,384.50
            CITY OF MALDEN                          Filing Fee                      N/A

                                                    TOTAL                    $ 8,140 50
                                                    Sales Tax                       N/A
                                                    Postage                       81.38

                                                    TOTAL                    $ 8,221.88
                                                    B&S miscalculated          - 149.50

                                                    Final Total              $ 8,072.38



            Federal Tax Identification
            No.




                       Invoices are due and payable UPON RECEIPT.

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                                          BATEMAN & SLADE, INC.
                                            — The Brief People —
                                            263 MAIN STREET — SUITE 3
                                         STONEHAM, MASSACHUSETTS 02180
                                                      ____

            EMAIL:BATEMANSLADE@MSN.COM                                            (617) 423-5556




            Timothy Buckley, Esquire                   May 30, 2023
            Seyfarth Shaw LLP
            Two Seaport Lane, Suite 300
            Boston, Massachusetts 02210-2028
            (617) 946-4800                        Invoice No. 12699
            _______________________________________________________

            United States Court of Appeals
            for the First Circuit
            No. 22-1674


            JACK OWENS, ET AL.                      Print & File:
                                                    Reply Brief               $     805.00
            v.                                      Sales Tax                          N/A
                                                    Postage                          29.80
            CITY OF MALDEN                          Filing Fee                         N/A

                                                    TOTAL                    $      834.80


            Federal Tax Identification
            No.




                       Invoices are due and payable UPON RECEIPT.

                Thank you for using the Brief People, Bateman & Slade!
